      Case 4:23-cv-04550 Document 14 Filed on 02/05/24 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                    February 06, 2024
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk

                              HOUSTON DIVISION

KIRK MACKEY,                                   §
                                               §
         Plaintiff,                            §
                                               §
VS.                                            §   CIVIL ACTION NO. 4:23-CV-04550
                                               §
SAA REALTY L.P.,                               §
                                               §
         Defendant.                            §

                       CONDITIONAL ORDER OF DISMISSAL

       The Court has been informed by notice that all claims pending in this lawsuit have been

settled. The case is therefore DISMISSED WITHOUT PREJUDICE to reinstatement of the

claims if any party represents to the Court, within sixty (60) days of this Order, that the

settlement could not be completely documented. The claims will be DISMISSED WITH

PREJUDICE sixty (60) days after the entry of this Order unless any party moves for

reinstatement or an extension of the conditional dismissal period before that date. The Clerk is

directed to administratively CLOSE the case.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 5th day of February, 2024.




                                            ____________________________________
                                            KEITH P. ELLISON
                                            UNITED STATES DISTRICT JUDGE
